        Case 3:23-cv-04683-RS Document 6-1 Filed 09/19/23 Page 1 of 4



 1   PERKINS COIE LLP
     David P. Chiappetta, Bar No. 172099
 2   DChiappetta@perkinscoie.com
     Lauren A. Trambley, Bar No. 340634
 3   LTrambley@perkinscoie.com
     505 Howard Street, Suite 1000
 4   San Francisco, California 94105
     Telephone: 415.344.7000
 5   Facsimile: 415.344.7050

 6   Attorneys for Defendant
     Katena Computing Technologies, Inc.
 7

 8                               UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                       OAKLAND DIVISION

11
     COINMINT, LLC,                                 Case No. 4:23-cv-04683-DMR
12
                   Plaintiff,                       DECLARATION OF MICHAEL GAO IN
13
                                                    SUPPORT OF KATENA COMPUTING
           v.                                       TECHNOLOGIES, INC.’S MOTION TO
14
     KATENA COMPUTING                               COMPEL ARBITRATION AND STAY
15   TECHNOLOGIES, INC. and DOES 1-40,              ACTION OR, IN THE ALTERNATIVE, TO
     inclusive,                                     QUASH PURPORTED SERVICE UNDER
16
                                                    RULE 12(B)(5)
                   Defendants.
17
                                                    Date:         November 9, 2023
18                                                  Time:         1:00pm
                                                    Courtroom:    4, 3rd Floor
19                                                  Judge:        Hon. Donna M. Ryu
20

21

22

23

24

25

26

27

28

                                                    -1-
                M. GAO DEC. ISO DEF.’S MOTION TO COMPEL ARBITRATION AND STAY ACTION AND QUASH SERVICE
        Case 3:23-cv-04683-RS Document 6-1 Filed 09/19/23 Page 2 of 4



 1          I, Michael Gao, declare as follows:

 2          1.      I am the CEO of Katena Computing Technologies, Inc. (“Katena”), the Defendant

 3   in the above-entitled action. My legal name is Zijing Gao, but I go by Michael day-to-day. The

 4   facts stated in this declaration are based on my own personal knowledge and, if called as a

 5   witness, I could and would testify to those facts.

 6          2.      Katena is a start-up company focused on designing and manufacturing bitcoin

 7   mining rigs using semiconductor chips with cutting-edge technology.

 8          3.      The processing power of Bitcoin mining rigs is measured in terahashes per second,

 9   with each terahash (“/th”) being equivalent to 1 trillion hashes per second.

10          4.      In 2021, when Bitcoin prices were at an all-time high, most established Bitcoin

11   mining rig manufacturers had increased their prices per terahash, and delivery times for Bitcoin

12   rigs were regularly taking up to two years.

13          5.      During this time, Katena was able to offer faster delivery schedules than other

14   suppliers so long as Katena received sufficient down payments to begin fabricating the chips and

15   manufacturing the mining rigs it would need.

16          6.      For some time leading up to that period, Coinmint had been precluded from

17   acquiring any meaningful number of Bitcoin mining rigs due to the terms of a Delaware Chancery

18   Court order arising from a lawsuit involving Coinmint’s principal financier, Ashton Soniat.

19          7.      On May 12, 2021, Katena entered into a contract with Coinmint under which

20   Coinmint agreed to pay Katena $150 million for Bitcoin mining rig technology. Under the terms

21   of the contract, Coinmint agreed to pay Katena 25% of the contract price ($37.5 million) as a

22   down payment, which would have provided Katena the ability to start the manufacturing process.

23          8.      The chips and mining rigs were to be manufactured in Taiwan using Katena’s

24   specialized microchip design and then assembled in China. Katena and Coinmint discussed their

25   intention that the products would be delivered to Coinmint at a location to be determined in Asia.

26          9.      However, due to its lack of financial wherewithal, Coinmint failed to make the

27   down payment required pursuant to the terms of the contract, triggering a liquidated damages

28   provision. Coinmint instead made several sporadic payments over the next several months, which
                                                     -2-
                 M. GAO DEC. ISO DEF.’S MOTION TO COMPEL ARBITRATION AND STAY ACTION AND QUASH SERVICE
        Case 3:23-cv-04683-RS Document 6-1 Filed 09/19/23 Page 3 of 4



 1   never even added up to the down payment that was owed.

 2          10.     Coinmint ultimately requested a return of its partial down payments. But pursuant

 3   to the terms of the contract, Katena declined to return the partial down payment money to

 4   Coinmint.

 5          11.     I am registered with the State of California as the agent for service of process of

 6   Katena Computing Technologies, Inc. with the address 1507 Purson Lane, Lafayette, CA 94549.

 7   That is my current home address. No other person or entity is registered with the State of

 8   California as an agent for service of process for Katena.

 9          12.     Katena maintains a “virtual office” at 4546 El Camino Real B10# 1022, Los Altos,

10   CA 94022. The virtual office was set up primarily as a place to receive mail and packages before

11   Katena invested in physical office space.

12          13.     Today, Katena maintains a physical office at 3500 Thomas Rd, Santa Clara, CA

13   95054. I spend part of each week working at this office. I also work remotely from my home or

14   while traveling.

15          14.     I do not ever work at Katena’s virtual office in Los Altos and do not maintain a

16   desk or office there.

17          15.     I receive mail and packages that are delivered to Katena’s virtual office.

18          16.     On or about August 14, 2023, I was informed that documents were left for me at

19   Katena’s virtual office.

20          17.     I have also reviewed all of the mail that was delivered to Katena’s virtual office in

21   August and September 2023, and the documents forwarded to Katena by A Registered Agent, Inc.

22          18.     Each consisted of a PDF containing three scanned hard copy documents: [1] a

23   Civil Lawsuit Notice, form CV-5012, [2] an Application for Right to Attach Order and Writ of

24   Attachment, Form AT-105, and [3] a Notice of Application and Hearing for Right to Attach

25   Order and Writ of Attachment, Form AT-115.

26          19.     The summons and complaint in the above-referenced action were never delivered

27   to Katena’s virtual office, to Katena’s physical office, to any other office affiliated with Katena,

28   or to me.
                                                   -3-
           M. GAO DEC ISO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND STAY ACTION AND QUASH SERVICE
        Case 3:23-cv-04683-RS Document 6-1 Filed 09/19/23 Page 4 of 4



 1          I declare under penalty of perjury under the laws of the United States that the foregoing is

 2   true and correct.

 3          Executed this 19th day of September 2023, in Lafayette, California.

 4

 5
                                                       _____________________________________
 6                                                     Michael Gao
 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                  -4-
          M. GAO DEC ISO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND STAY ACTION AND QUASH SERVICE
